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                                                                   HONORABLE THOMAS S. ZILLY
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 7                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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 9
     STUART WHEELER,
10                                                       No. 2:15-cv-00385-TSZ
                        Plaintiff,
11                                                       DEFENDANT BNSF RAILWAY
             v.                                          COMPANY’S ANSWER AND
12                                                       AFFIRMATIVE DEFENSES
     BNSF RAILWAY COMPANY, a Delaware
13   corporation,                                        JURY DEMAND

14                      Defendant.
15

16           COMES NOW defendant BNSF Railway Company ("BNSF"), by and through its

17   attorneys Montgomery Scarp, PLLC, and for answer and affirmative defenses to plaintiff's

18   Complaint on file herein, admits, denies and alleges as follows:

19                                              I. PARTIES

20           1.1.    Answering paragraph 1.1 of plaintiff's Complaint, BNSF currently lacks sufficient

21   information to form a belief as to the truth of the matters averred therein, and therefore denies the

22   same.

23           1.2.    Answering paragraph 1.2 of plaintiff's Complaint, BNSF admits that it is a

24   corporation organized and existing under the laws of the State of Delaware.

25                                   II. JURISDICTION AND VENUE

26           2.1.    Answering paragraph 2.1 of plaintiff's Complaint, BNSF admits that it is not a

27
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                                                                              Seattle, Washington 98101
     DEFENDANT BNSF RAILWAY COMPANY’S                                         Telephone (206) 625-1801
     ANSWER AND AFFIRMATIVE DEFENSES - 1                                      Facsimile (206) 625-1807
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 1   citizen of Washington State, it is not incorporated in Washington, and does not have its principal

 2   place of business in Washington. BNSF currently lacks sufficient information to form a belief as

 3   to the truth of the remaining matters averred therein, and therefore denies the same.

 4             2.2.   Answering paragraph 2.2 of plaintiff's Complaint, BNSF admits that to the extent

 5   the Court has subject matter jurisdiction over this matter, venue is proper. BNSF admits that the

 6   incident giving rise to this lawsuit occurred in this judicial district. To the extent that paragraph

 7   2.2 differs from the above, BNSF denies the same.

 8                                               III. FACTS

 9             3.1.   Answering paragraph 3.1 of plaintiff's Complaint, admitted.

10             3.2.   Answering paragraph 3.2 of plaintiff's Complaint, BNSF admits that a BNSF

11   vehicle driven by Mr. Hawkins that day was parked in front of the BNSF offices at 2900 Bond

12   Street.

13             3.3.   Answering paragraph 3.3, BNSF admits that Elgin Hawkins was employed by

14   BNSF and was acting within the scope of his employment at the time of the motorcycle/vehicle

15   collision giving rise to this lawsuit.

16             3.4.   Answering paragraph 3.4 of plaintiff's Complaint, BNSF admits that Mr. Hawkins

17   backed his vehicle up prior to the motorcycle/vehicle collision giving rise to this lawsuit. BNSF

18   currently lacks sufficient information to form a belief as to the truth of the remaining matters

19   averred therein and therefore denies the same.

20             3.5.   Answering paragraph 3.5 of plaintiff's Complaint, BNSF admits that plaintiff’s

21   motorcycle collided with the vehicle operated by Mr. Hawkins. BNSF currently lacks sufficient

22   information to form a belief as to the truth of the remaining matters averred therein and therefore

23   denies the same.

24             3.6.   Answering paragraph 3.6 of plaintiff's Complaint, BNSF admits that plaintiff was

25   injured as a result of his motorcycle colliding with the vehicle operated by Mr. Hawkins. The

26   remaining matters averred therein call for a legal conclusion that does not require a response. To

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 1   the extent a response may be required, BNSF denies liability for plaintiff’s claimed damages.

 2                                       IV. CAUSE OF ACTION

 3          4.1.    Answering paragraph 4.1 of plaintiff's Complaint, BNSF realleges its responses to

 4   paragraphs 1.1-3.6 above.

 5          4.2.    Answering paragraph 4.2, denied.

 6          4.3.    Answering Paragraph 4.3, denied.

 7          4.4.    Answering Paragraph 4.4, BNSF admits that Elgin Hawkins was employed by

 8   BNSF and acting within the scope of his employment at the time of the motorcycle/vehicle

 9   collision giving rise to this lawsuit; however, the remaining matters averred are denied.

10                                     AFFIRMATIVE DEFENSES

11          Without admitting any matters previously denied, BNSF alleges the following affirmative

12   defenses:

13          1.      Plaintiff’s Complaint, in whole or in part, fails to state a claim upon which relief

14   can be granted.

15          2.      The injuries sustained by plaintiff and resulting damages were caused in whole or

16   in part by plaintiff’s own negligence, such that plaintiff’s recovery of damages, if any, must be

17   denied or diminished in proportion to plaintiff’s own negligence.

18          3.      Plaintiff’s damages or injuries, if any, may have been proximately caused by the

19   actions of third-parties, unavoidable consequences, or other acts or omissions beyond the

20   direction, supervision or control of BNSF.

21          4.      Plaintiff is not entitled to any damages for injuries that were sustained by plaintiff

22   that were caused by events other than those alleged in plaintiff’s Complaint.

23          5.      Plaintiff is not entitled to damages for any physical conditions from which he

24   suffers to the extent that those conditions preexisted in whole or in part prior to the happening of

25   the incident alleged in the Complaint.

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 1          6.      Plaintiff’s medical treatment may not have been incurred as a result of conditions

 2   caused by the incident of which plaintiff complains.

 3          7.      All or part of plaintiff's damages, if any, are barred, in whole or in part, to the

 4   extent that Plaintiff failed to mitigate his damages, if any.

 5          8.      BNSF reserves the right to amend this answer and affirmative defenses to allege

 6   additional defenses, counterclaims, and any third-party claims as may be identified in the course

 7   of investigation and discovery.

 8                                            JURY DEMAND

 9          Pursuant to Federal Rule of Civil Procedure 38(b), defendant herein requests a trial by a

10   jury of twelve in the above-referenced matter.

11

12          DATED this 22nd day of April 2015.

13

14                                                  Montgomery Scarp, PLLC
15
                                                    s/ Bradley Scarp                         l
16                                                  s/ Michael Chait                         l
17                                                  s/ Elizabeth Findley
                                                    Bradley Scarp, WSBA #21453
18                                                  Michael Chait, WSBA #48842
                                                    Elizabeth Findley, WSBA #46990
19                                                  brad@montgomeryscarp.com
                                                    mike@montgomeryscarp.com
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 1                                               CERTIFICATE OF SERVICE

 2           I am over the age of 18; and not a party to this action. I am the assistant to an attorney with Montgomery
     Scarp, PLLC, whose address is 1218 Third Avenue, Suite 2500, Seattle, Washington, 98101.
 3
              I hereby certify that a true and complete copy of DEFENDANT BNSF RAILWAY COMPANY’S ANSWER
 4   AND AFFIRMATIVE DEFENSES has been filed with the United States District Court via the ECF system which
     gives automatic notification to the following interested party:
 5
                Michael David Myers
 6              Myers & Company, PLLC
                1530 Eastlake Avenue East
 7              Seattle, Washington 98102

 8
                I declare under penalty under the laws of the State of Washington that the foregoing information is true and
 9   correct.

10              DATED this 22nd day of April, 2015, at Seattle, Washington.

11
                                                              s/Tyler Campbell
12                                                           Tyler Campbell, Paralegal

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                                                                                         MONTGOMERY SCARP, PLLC
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